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                               UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND


       CHAMBERS OF                                                               101 WEST LOMBARD STREET
    J. FREDERICK MOTZ                                                            BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                            (410) 962-0782
                                                                                      (410) 962-2698 FAX



                                                November 14, 2005

          Re: In re Mutual Funds Investment Litigation
              MDL-15863

              Riggs v. Massachusetts Financial Services Co., et al.
              Civil No. JFM-04-1162

  Dear Counsel:

          I am in receipt of Mr. Polkes’ letter of November 10, 2005.

        Mr. Polkes is correct that my failure to address in my November 3, 2005 letter
  memorandum the claims against the defendants delineated in the Consolidated Amended
  Complaint as the “Facilitator Broker Defendants” and the “Financier Defendants,” other than
  Bank of America and Bear Stearns, was an oversight. Accordingly, my November 3, 2005 letter
  memorandum is hereby amended as follows:

                 Motions of the Market Timing, Facilitator Broker, Clearing Broker, and Financier
          Defendants other than Theodore Sihpol, the Bank of America and Bear, Stearns
          defendants, STC, and Grant D. Seeger. Granted, without leave to amend, for the same
          reasons stated in the investor class opinion and order I issued in the Janus subtrack in
          connection with the claims against the broker dealer defendants other than Bear, Stearns
          and Bank of America.

                  In regard to the motion of the CIBC defendants, I note that here, unlike in Janus,
          plaintiffs do not suggest that the CIBC defendants themselves engaged as traders in
          market timing transactions.

          Despite the informal nature of this letter, it should be flagged as an opinion and docketed
  as an order.

                                                Very truly yours,

                                                /s/


                                                J. Frederick Motz
                                                United States District Judge
